      Case:19-05002-MJK Doc#:13 Filed:06/27/19 Entered:06/27/19 12:03:57                                      Page:1 of 1
                            UNITED STATES BANKRUPTCY COURT
                                              Southern District of Georgia

In the matter of:

Paul Darshan Sharma
Chapter 7 Case No. 18−50834−MJK
       Debtor(s)

The Kaspers Firm, LLC
Edward Scott
Debbie Richards
       Plaintiff(s)
                                                              Adversary Proceeding
vs.                                                           No. 19−05002−MJK
Paul Darshan Sharma
       Defendant(s)

Paul Darshan Sharma, 1007 Peterson Ave. N, Douglas, GA 31533

                                                    NOTICE OF DEFICIENCY

Additional action is required on the deficient Complaint/Pleading which you recently filed in the above−captioned case:

                   Fee not paid. Filing fee of $ due. Filing fee must be in the form of cash, money order or certified check and
                   made payable to Clerk, U.S. Bankruptcy Court. Attorney filers shall pay electronically through Pay.gov using the
                   docket event Bankruptcy > Miscellaneous > Adversary Fee.

                   The caption does not comply with Bankruptcy Rule 7010. Please amend.



                   The B−1040 Adversary Proceeding Cover Sheet has not been submitted. A copy of this form is available at
                   www.uscourts.gov/forms.


                   Document unsigned or does not contain original or electronic signature. Please amend.


                   The underlying case has been closed. If you wish to pursue your complaint, please comply with Bankruptcy
                   Rule 5010 by filing a Motion to Reopen and pay the applicable fee to reopen a case.


                   Under the law, individuals may file pleadings, appear in court and represent themselves, but corporations and
                   partnerships are prohibited. For your further information, attorneys not admitted to practice in the Southern
                   District of Georgia must comply with local rules to be admitted pro hac vice.

                   Local Rule 7.1.1 requires that a Disclosure Statement be filed by counsel for all private (non−governmental)
                   parties, both Plaintiff and Defendant. Please submit the Statement as required. Attorney filers should docket the
                   form using the event Adversary > Miscellaneous > Disclosure Statement pursuant to LR 7.1.1.

                   Amended Certificate of service must be submitted. Certificate of Service must show service to ALL parties other
                   plaintiffs, Ch 7 Trustee and US Trustee.

The complaint or pleading will be held in abeyance. If the required action indicated above is not completed, on or before July 5,
2019 , the matter may be stricken, dismissed or denied.

                                                                                   Lucinda Rauback, CLERK
                                                                                   United States Bankruptcy Court
                                                                                   801 Gloucester St, Rm 314
                                                                                   Brunswick, GA 31520
Dated June 27, 2019
A−02[Rev. 05/19] LLD
